(1) I agree that under Section 80-12-2, U.C.A. 1943, as amended by Chapter 113, Laws of Utah 1947, the Legislature intended to place "grandchildren" in the class of collaterals. That is to say, it intended to give the increased exemption only in case the property was devised or bequeathed to a spouse and/or children of the spouses, and not to that portion devised or bequeathed or passing by the laws of inheritance to the issue of other than the spouses. But I think the question of whether "children" *Page 166 
was intended to include grandchildren or great grandchildren in any case, depends on the particular statute involved and the purposes it was intended to subserve. I think it is not helpful to argue from outside the statutes dealing with succession as it may lead to a result contrary to the one intended in regard to this statute. I should say unless it appears that not to include grandchildren or more remote direct descendants would do violence to the obvious purpose of the statute, the word "children" should be held to its plain and literal meaning.
(2) I agree that the lower court was correct in allowing as an exemption the value of the surviving son's life estate.
(3) As to the third question, I think that in any case of devolution of estate by death, an exemption of $10,000 was intended. If more than $10,000 devolved on the surviving spouse and/or children, the amount so going up to $30,000 additional would be exempt. In this case, it is not necessary to determine what the rate would be if such property were in excess of $40,000 because the whole estate is only $27,000. Whether a statute says 3% of the value by which the net estate exceeds $10,000 but not to exceed $25,000, as in the case at bar, or whether the statute says there shall be an exemption of $10,000 there is, in either case, an exemption of $10,000. Here the statute further says, in effect, but if up to $40,000 or any part thereof goes to heirs named (surviving spouse and/or children), that part up to $40,000 shall be exempt. But unless the wording of the statute so required, it would not be construed as giving double exemptions. Going further, which we need not do, if the property passing to the heirs designated by the statute, exceeded $40,000, up to the amount of $75,000, the tax on the $35,000 or any part thereof would be as provided in the general scale of $25,000 to $75,000 or 5%. But if the amount going to the designated heirs should exceed $75,000, then it would be the rate of 8% up to $125,000. If over $125,000 to direct heirs, it would be 10% on all over that amount. *Page 167 
The above ideas can be illustrated by the following examples, each assuming a net estate of $200,000:
(A) All to heirs other than wife and children:
                               $10,000 exempt .................. $25,000  — $10,000             $15,000 at 3% ................... $   450 $75,000  — $25,000             $50,000 at 5% ...................   2,500 $125,000 — $75,000             $50,000 at 8% ...................   4,000 $200,000 — $125,000            $75,000 at 10% ..................   7,500 _______ Total ... $14,450
(B) All to wife and children
$10,000 exempt               $30,000 exempt         =     $40,000 exempt $75,000  — $40,000           $35,000   @    5%      =       1,750 $125,000 — $75,000           $50,000   @    8%      =       4,000 $200,000 — $125,000          $75,000   @   10%      =       7,500 _______ Total ........ $13,250
What the statute intended to do was to provide a general scale as shown by illustration (A) and then intrude into the general scale a greater exemption on all property going to the heirs named in the statute, up to $40,000. That is apparent from the above illustrations, since in estates exceeding $40,000 in value, the accumulated percentages meet again on the general scale, i.e. at 8% and 10%. The $40,000 exemption only touches the 3% and the 5% brackets. After $75,000 there is no difference because the $40,000 exemption has played its part within the first $75,000. *Page 168 